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Attorneys for Plaintiff PATRICIA A. WALKER

IN 'I`HE UNITED STATES DISTRICT COURT
EASTERN ])ISTRICT OF CALIFORNIA
PATRICIA A. WALKER,
Plaintiff, CASE NO.
v.

PFIZER INC.; WYETH dba WYETH LLC;

 

 

WYETH PI~IARMACEUTICALS INC.; COMPLAINT FOR DAMAGES
ORTHO-MCNEIL PHARMACEUTICAL, Personal lnjury Action (28 U.S.C. §1332)
LLC; MONARCH PHARMACEUTICALS
INC.; and WARNER CHILCOTT US LLC, DEMAND FOR JURY TRIAL
Det`endants.
NA'I`URE OF 'I`HE CASE

l. Plaintiff Patricia A. Walker developed breast cancer caused by her ingestion of prescription
hormone replacement therapy medication, specifically Prempro, Ortho-Prefest, Prefest, and

FemHRT(“hormone therapy drugs” or “hormone therapy products”). This lawsuit asserts claims for

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nein gence, strict product liability for design defect, strict product liability for failure to Warn and breach
of implied warranty against each defendant responsible for the design, manufacture, production, testing,
study, inspection, mixture, labeling, marketing, advertising, sales, promotion, and/or distribution of the
hormone therapy products that caused Patricia A. Walker’s breast cancer.
JURISDICTION AND VENUE
2. This court has subject matter jurisdiction over this matter pursuant to28 U.S.C. §1332
(diversity of citizenship). The matter in controversy in this civil action exceeds the sum or value of
$75,000, exclusive of costs and interests, as to each defendant, and is between citizens of different
states.
3. Venue is proper in this district under 28 U.S.C. §1391 because defendants transact business
in this district.
THE PARTIES
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4. At all material times, plaintiff Patricia A. Walker has been a resident and citizen of
California.
Defendants
5. Defendants as to Prempro plaintiff ingested:
a. Defendant Wyeth dba Wyeth LLC is a Delaware corporation With its principal
place of business in Madison, NeW Jersey. At all relevant times, this defendant Was
engaged in the design, manufacture, production, testing, study, inspection, mixture,
labeling, marketing, advertising, sales, promotion, and/or distribution of pharmaceutical
products, including the hormone therapy drug Prempro.
b. Defendant Wyeth Pharmaceuticals lnc. is a Delaware corporation With its
principal place of business in Collegeville, Penusylvania. At all relevant times, Wyeth
Pharmaceuticals Inc. Was engaged in the design, manufacture, production, testing, study,
inspection, mixture, labeling, marketing, advertising, sales, promotion, and/or distribution
of pharmaceutical products, including the hormone therapy drug Prempro.
c. For purposes of this Complaint, all of the Wyeth companies, corporations,

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subsidiaries, and divisions Will be collectively referred to as “Wyeth.” Wyeth includes
any and all parents, subsidiaries, affiliates, divisions, franchises, partners, joint venturers
and organizational units of any kind, their predecessors, successors and assigns and their
present officers, directors, employees, agents, representatives and other persons acting on
their behalf, including but not limited to Wyeth, Inc.; Wyeth-Ayerst Laboratories
Colnpany; Wyeth-Ayerst Laboratories Inc.; Wyeth-Ayerst Pharmaceuticals lnc.; ESI
Lederle; and Ayerst Laboratories Inc. At all material times before March ll, 2002,
Wyeth conducted business, operated under the name, and Was formerly known as
American Holne Pro ducts Corp oration.
d. Effective October 15, 2009, Pfizer Inc. acquired Wyeth. Defendant Pfizer Inc. is
a Delavvare corporation With its principal place of business in Nevv Yorl<, NeW York. At
all relevant times, this defendant Was engaged in the design, manufacture, production,
testing, study, inspection, mixture, labeling, rnarketing, advertising, sales, promotion,
and/or distribution of pharmaceutical products Upon information and belief, a merger
between defendant Pfizer and Wyeth has made defendant Pfizer responsible for the
obligations, debts and liabilities of Wyeth.
e. For purposes of this Complaint, all of the Pfizer, corporations, subsidiaries, and
divisions Will be collectiveiy referred to as “Piizer.” Pfizer includes any and all parents,
subsidiaries, affiliates, divisions, franchises, partners, joint venturers and organizational
units of any kind, their predecessors, successors and assigns and their present officers,
directors, employees, agents, representatives and other persons acting on their behalf,
including but not limited to Upjohn, Pharrnacia & Upjolm, Wyeth and Pfizer.

6. Defendants as to Ortho-Prefest plaintiff ingested:
a. Defendant Ortho-McNeil Pharmaceutical, LLC (formerly known as Ortho-Mcl\leil
Pharrnaceutical, lnc.) is a Delaware corporation With its principal place of business in
Raritan, NeW Jersey. At all relevant times, this defendant Was engaged in the design,
manufacture, production, testing, study, inspection, mixture, labeling, marketing,
advertising sales, promotion, and/or distribution of pharmaceutical products, including

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the hormone therapy drug Ortho~Prefest.

7. Defendants as to Prefest plaintiff ingested:

a. Defendant Monarch Pharmaceuticals, Inc. is a Tennessee corporation with its principal
place of business in Bristol, Tennessee. At all relevant times, this defendant was engaged
in the design, manufacture, production, testing, study, inspection, mixture, labeling,
marketing, advertising, sales, promotion, and/or distribution of pharmaceutical products,
including the hormone therapy drug Prefest.

8. Defendants as to FemI-IRT plaintiff ingested:

a. Warner Chilcott US, LLC. (fornierly Warner Chilcott, lnc.) is a Delavvare corporation
With its principal place of business in Rockavvay, New Iersey. At all relevant times, this
defendant vvas engaged in the design, manufacture, production, testing, study, inspection,
mixture, labeling, marketing, advertising, sales, promotion, and/or distribution of
pharmaceutical products, including the hormone therapy drug Femhrt.
FACTUAL ALLEGATIONS
MMLES

9. Plaintiff Patricia A. Wall<er ingested each defendant’s hormone therapy drugs, specifically
Prempro, Ortho~Prefest, Prefest, and FemHRT. She first began ingesting the hormone therapy drugs in
1998. She stopped ingesting the hormone therapy drugs in 2008.

lU. As a result of ingesting these hormone drugs, plaintiff Patricia A. Walker developed breast
cancer, resulting in personal injuries and damages Her breast cancer Was diagnosed in l\/larch 2008, in
Caiifornia.

Defendants’ Misconduct

ll. Plaintiff adopts the allegations of defendants’ misconduct as alleged in the Amended Master
Ccmplaint, filed in the Prempro MDL on November 24, 2008.

12. At all material tinies, each defendant Was responsible for designing, manufacturing,
producing, testing, studying, inspecting, mixing, labeling, marketing, advertising, selling, promoting,
and/or distributing its hormone drugs described herein, Which plaintiff ingested.

13. Each defendant had an independent obligation to know, analyze, and disclose scientific and

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medical information about its hormone therapy drugs in a timely and adequate manner, and to provide
warnings about risks and side effects as soon as they were aware of them. Each defendant failed to do so
with respect to its hormone therapy drugs that plaintiff ingested, including by failing to know, analyze,
and/or disclose an increased incidence and risk of strokes, blood clots, heart attacks, breast cancers, and
ovarian cancer from its drugs.

l4. Each defendant made claims regarding the health benefits of ingesting its hormone drugs,
and the risks and side effects of its drugs. Each defendant knew or should have known that these claims
were false and misleading Each defendant failed to adequately disclose the true health consequences,
and the true risks and side effects from these drugs, including the increased incidence and risks of
strokes, blood clots, heart attacks, breast cancers, and ovarian cancer.

l5. Each defendant failed to conduct adequate pre~marketing clinical testing and research, and
failed to conduct adequate post-marketing surveillance, to determine the safety of its hormone drugs,
including with respect to the causal connection between its hormone therapy drugs and strokes, blood
clots, heart attacks, breast cancers, and ovarian cancer. Each defendant also failed to test its drug’s
safety compared to safer, feasible alternative bioidentical hormones.

16. Each defendant failed to disclose on its warning labels, or elsewhere, that adequate pre-
marketing clinical testing and research, and adequate post-marketing surveillance, had not been done,
thereby giving the false impression that its hormone therapy drugs had been sufficiently tested.

l7. Each defendant knew or should have known that, at all material times, its communications
ahout the benefits, risks, and adverse effects of its hormone therapy drugs, including communications in
labels, advertisements and promotional materials, were materially false and misleading In the
alternative, each defendant was ignorant of whether or not its communications about its hormone drugs
were true in material ways.

lS. Plaintiff would not have ingested the hormone therapy drugs described herein, or would
have discontinued its use, or would have used safer alternative methods, had each defendant disclosed
the true health consequences, risks, and adverse events, including the increased incidence and risk of
strokes, blood clots, heart attacks, breast cancers, and ovarian cancer, among other illnesses, caused by
its hormone drugs.

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l9. Each defendant’s nondisclosures and misrepresentations as alleged herein were material,
and were substantial factors that contributed directly and causally, and naturally and necessarily, to the
serious injuries and damages that plaintiff has suffered

FRAUDULENT CONCEALMENT

2(). Any applicable statutes of limitations have been tolled by the knowing and active
concealment and denial of material facts known by each defendant when it had a duty to disclose those
facts. Each defendant has kept plaintiff ignorant of vital information essential to a pursuit of these
claims, without any fault or lack of diligence on plaintiffs part, for the purpose of obtaining delay on
plaintiffs part in filing a complaint on her causes of action. Each defendant’s fraudulent concealment
did result in such delay. Plaintiff could not reasonably have discovered these claims until shortly before
filing this complaintl

2i. Each defendant was under a continuing duty to disclose the true character, quality, and
nature of its hormone therapy drugs that plaintiff ingested, but instead concealed them. As a result, each
defendant is estopped from relying on any statute of limitations defense

CLAIMS FOR RELIEF
First Claim Against All Defendants
(Ncgligence)

22. Plaintiff realleges all previous paragraphs, and adopts the allegations about negligence
contained in the Amended Master Complaint, filed in the Prempro MDL on November 24, 2008.

23. Each defendant introduced its hormone therapy drugs described herein into the stream of
commerce At all material times, each defendant had a duty to plaintiff and other consumers of its
hormone therapy drugs to exercise reasonable care in order to properly design, manufacture, produce,
test, study, inspect, mix, label, market, advertise, sell, promote, and distribute its product This includes
a duty to warn of side effects, and to warn of the risks, dangers, and adverse events associated with its
hormone drugs.

24, Each defendant knew, or in the exercise of reasonable care should have known, that its
hormone therapy drugs were of such a nature that it was not properly designed, manufactured, produced,
tested, studied, inspected, mixed, labeled, marketed, advertised, sold, promoted, and distributed, and

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they were likely to cause injury to those who ingested them.

25. Each defendant was negligent in the design, manufacture, production, testing, study,

inspection, mixture, labeling, marketing, advertising, sales, promotion, and distribution of its hormone

therapy drugs, and breached duties it owed to plaintiff ln particular, each defendant

a.

Failed to use due care in the preparation of its hormone therapy drugs to prevent the
aforementioned risks to women when the drugs were ingested;

Failed to use due care in the design of its hormone therapy drugs to prevent the
aforementioned risks to women when the drugs were ingested;

Failed to conduct adequate pre-clinical testing and research to determine the safety of its
hormone therapy drugs;

Failed to conduct adequate post*marketing surveillance to determine the safety of its
hormone therapy drugs;

Failed to study, develop, and/or acquire safer alternative components to replace the
synthetic hormone ingredients in combination hormone therapy;

Failed to accompany its product with proper warnings regarding all possible adverse side
effects associated with the use of its hormone therapy drugs and the comparative severity
and duration of these adverse side effects;

Failed to use due care in the development of its hormone therapy drugs to prevent the
aforementioned risks to individuals when the drugs were ingested;

Failed to use due care in the manufacture of its hormone therapy drugs to prevent the
aforementioned risks to individuals when the drugs were ingested;

Failed to use due care in the inspection of its hormone therapy drugs to prevent the
aforementioned risks to individuals when the drugs were ingested;

Failed to use due care in the labeling of its hormone therapy drugs to prevent the
aforementioned risks to individuals when the drugs were ingested ;

Failed to use due care in the marketing of its hormone therapy drugs to prevent the
aforementioned risks to individuals when the drugs were ingested g

Failed to use due care in the promotion of its hormone therapy drugs to prevent the

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aforementioned risks to individuals when the drugs were ingested;

m. Failed to use due care in the selling of its hormone therapy drugs to prevent the
aforementioned risks to individuals when the drugs were ingested;

n. Failed to provide adequate information to healthcare providers for the appropriate use of
its hormone therapy drugs;

o. Failed to warn adequately about the health consequences, risks, and adverse events
caused by its hormone therapy drugs ; and

p. Was otherwise careless and negligent

26. Each defendant knew or should have known that its hormone therapy drugs caused
unreasonable harm and dangerous side effects that many users would be unable to remedy by any
means. Despite this, each defendant continued to promote and market its hormone therapy drugs for use
by consumers, including plaintiff, when safer and more effective methods and formulations for treating
the negative health effects of menopause were available

27. lt was foreseeable to each defendant that consumers, including plaintiff, would suffer injury
as a result of its failure to exercise ordinary care as described herein.

28. As a direct and proximate result of each defendant’s conduct, plaintiff suffered the injuries
and damages specified herein.

Second Claim Agginst All Defendants
(Strict Liability: Design Defect)

29. Plaintiff realleges all previous paragraphs, and adopts the allegations about design defect
contained in the Amended Master Complaint, filed in the Prempro MDL on November 24, 2008.

30. Each defendant manufactured, sold, and supplied its hormone therapy drugs described
herein, and at all material times was in the business of doing so. Each defendant placed its drugs into
the stream of commerce These drugs were expected to, and did, reach plaintiff without substantial
change in its condition Plaintiff ingested these hormone therapy drugs.

3 l. At the time the hormone therapy drugs left each defendant’s hands, these drugs were in a
condition not contemplated by plaintiff and were unreasonably dangerous to her. These hormone
therapy drugs were dangerous to an extent beyond that which would be contemplated by the ordinary

-8- COMPLA]NT FOR DAMAGES

 

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consumer who purchased them. They were more dangerous than plaintiff contemplated

32. The risks of each defendant’s hormone therapy drugs outweigh its utility. There were
practicable and feasible safer alternatives to each defendant’s hormone therapy drugs for treating
menopause symptoms

33. Each defendant’s hormone drugs are defective and unreasonably dangerous

34. As a direct and proximate result of each defendant’s conduct, plaintiff suffered the injuries
and damages specified herein.

Third Claim Against All Defendants
(Strict Liability: Failure to Warn)

35. Plaintiff realleges all previous paragraphs, and adopts the allegations about failure to warn
contained in the Amended Master Complaint, filed in the Prempro MDL on November 24, 2008.

36. Each defendant manufactured, sold, and supplied the hormone therapy drugs described
herein, and at all material times was in the business of doing so. Each defendant placed these drugs into
the stream of commerce These drugs were expected to, and did, reach plaintiff without substantial
change in their condition Plaintiff ingested these hormone therapy drugs.

37. When each defendant placed its hormone therapy drug into the stream of commerce, it
failed to accompany the drug with adequate warnings Each defendant failed to warn of the true risks
and dangers, and of the symptoms, scope and severity of the potential side effects of the hormone
therapy products plaintiff ingested. These risks, dangers, and side effects include, but are not limited to,
strokes, blood clots, heart attacks, breast cancers, and ovarian cancer.

38. Due to the inadequate warnings as alleged herein, at the time the hormone therapy drugs left
each defendant’s hands, these drugs were in a condition not contemplated by plaintiff, and were
unreasonably dangerous to her. They were dangerous to an extent beyond that which would be
contemplated by the ordinary consumer who purchased it. They were more dangerous than plaintiff
contemplated Furthermore, their risks outweighed their utility.

39. Each defendant’s hormone therapy drug described herein was defective and um‘easonably
dangerous

40. Had the defendants provided adequate warnings and instructions, plaintiff would not have

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ingested these drugs, and would not have suffered the personal injuries she did.

41. As a direct and proximate result of each defendant’s conduct, plaintiff suffered the injuries
and damages specified herein.

Fourth Claim Against All Defendants
(Breach of Implied Warranty)

42. Plaintiff realleges all previous paragraphs

43. At the time each defendant designed, manufactured, produced, tested, studied, inspected,
mixed, labeled, marketed, advertised, sold, promoted, and distributed tts hormone drugs for use by
plaintiff, it knew of the use for which its hormone drugs were intended, and impliedly warranted its
products to be of merchantable quality and safe and tit for their intended use.

44. Contrary to such implied warranty, each defendant’s hormone drug was not of merchantable
quality or safe or fit for its intended use because it was and is unreasonably dangerous and unfit for the
ordinary purposes for which it was used, as alleged herein.

45. As a direct and proximate result of each defendant’s conduct, plaintiff suffered the injuries
and damages specified herein.

PRAYER FOR RELIEF
46. WHERBFORE, plaintiff seeks judgment in her favor against each defendant as follows:
a. Economic and non-economic damages in an amount in excess of 875,000 as to each
defendant as provided by law and to be supported by the evidence at trial;
b. An award of attorneys‘ fees and costs of suit, as provided by law;
c. Such other legal and equitable relief as this Court deems just and proper.
JURY DEMAND
Plaintiff requests trial by jury.
DATED this _\\§g day or i~U_Q , 2010.

Kathryn Stebner,@ /

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